                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

WILLIE HENDERSON, individually and               )
behalf of all others similarly situated,         )
                                                 )   Civil Action No. 7: 17CV00292
       Plaintiff,                                )
                                                 )   ORDER
v.                                               )
                                                 )   By: Hon. Glen E. Conrad
GENERAL REVENUE CORPORATION,                     )   Senior United States District Judge
et al. ,                                         )
                                                 )
       Defendants.                               )

       For the reasons stated in the accompanying memorandum opinion, it is hereby

                                           ORDERED

as follows:

        1.     The plaintiffs motion for leave to file a second amended complaint (Dkt. No. 93)
               is GRANTED;

       2.      The second amended complaint (Dkt. No. 93-1) shall be deemed filed as of this
               date and docketed separately by the Clerk;

       3.      The plaintiff shall file an amended motion for class certification reflecting
               Navient Portfolio Management, LLC as an additional defendant within five (5)
               days ;

       4.      The parties shall confer and submit a proposed briefing schedule on the amended
               motion for class certification within ten ( 10) days;

       5.      Upon receipt of the proposed briefing schedule, the court will finalize the hearing
               date for the amended motion for class certification; and

       6.      The original motion for class certification (Dkt. No. 58) shall be administratively
               terminated by the Clerk.

       The Clerk is directed to send copies of this order to all counsel of record.

       DATED: This     oU ~ay ofMarch, 2019.

                                               Senior United States District Judge



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